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 Fill in this information to identify your case:

 Debtor 1                  Stephen Allen Chandler
                           First Name                       Middle Name               Last Name

 Debtor 2                  Patricia Lee Chandler
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF INDIANA

 Case number            18-04740-JJG
 (if known)
                                                                                                                              Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                      12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         Mr. Cooper/Nationstar                               Surrender the property.                           No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a              Yes
    Description of        610 West Pearl Street Lebanon,                    Reaffirmation Agreement.
    property              IN 46052 Boone County                            Retain the property and [explain]:
    securing debt:        4 Bedrooms, 1 Baths, 2,200
                          Square Feet
                          (Held as Stephen Chandler)
                          Purchased in 2006 for $99,900

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                TTG Finance                                                                               No

                                                                                                                           Yes

 Description of leased         2010 Ford Focus
 Property:

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 Debtor 1      Stephen Allen Chandler
 Debtor 2      Patricia Lee Chandler                                                                 Case number (if known)   18-04740-JJG



 Lessor's name:               TTG Finance                                                                                      No

                                                                                                                                 Yes

 Description of leased        2013 Ford Fiesta
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Stephen Allen Chandler                                                   X /s/ Patricia Lee Chandler
       Stephen Allen Chandler                                                          Patricia Lee Chandler
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        November 20, 2018                                                Date    November 20, 2018




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